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                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


AIRE TECHNOLOGY LTD.,

                        Plaintiff,                 Case No. 6:21-cv-01101-ADA

                 v.                                JURY TRIAL DEMANDED

APPLE INC.,

                        Defendant.


          UNOPPOSED MOTION TO WITHDRAW AND SUBSTITUTE COUNSEL

          Plaintiff Aire Technology Ltd. (“Aire”) requests that the Court permit withdrawal of Russ

August & Kabat LLP as counsel of record and substitute the following attorneys as counsel of

record:

                 Brett E. Cooper (NY SBN 4011011)
                 bcooper@bc-lawgroup.com
                 Seth R. Hasenour (TX SBN 24059910)
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                 BC Law Group, P.C.
                 200 Madison Avenue, 24th Floor
                 New York, NY 10016
                 516-359-9668 (Tel.)

          This motion is filed with the agreement of counsel and Aire, as set forth in the proposed

orders attached hereto. Defendant Apple Inc. does not oppose the motion.


 Dated: September 13, 2022                         Respectfully submitted,

                                                   By: /s/ Brett Cooper

                                                   Brett E. Cooper
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                                                Attorneys for Plaintiff Aire Technology Ltd.


                            CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that counsel has complied with the meet and confer

requirement and this motion is unopposed.

                                                   /s/ Brett Cooper
                                                   Brett E. Cooper


                               CERTIFICATE OF SERVICE

       I certify that this document is being served upon counsel of record for Defendant on

September 13, 2022 via electronic service.



                                                      /s/ Brett Cooper
                                                      Brett E. Cooper




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